[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                             JUDGMENT ENTRY.
This appeal, considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, is not controlling authority except as provided in S.Ct.R.Rep.Op. 2(G)(1).
We overrule the appellant's sole assignment of error. On the basis of the record of the hearing on the appellant's presentence motion to withdraw his guilty pleas, we are unable to conclude that the common pleas court, in denying the motion, abused its discretion. See Crim.R. 32.1; State v. Xie (1992), 62 Ohio St.3d 521,  584 N.E.2d 715, paragraph two of the syllabus.
Therefore, we affirm the judgment of the court below.
Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27. Costs shall be taxed under App.R. 24.
Painter, P.J., Winkler and Shannon, JJ.
Raymond E. Shannon, retired, from the First Appellate District, sitting by assignment.